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                                                                                                                        E-FILED
                                                                                      Friday, 26 January, 2018 10:44:54 AM
                                                                                               Clerk, U.S. District Court, ILCD
                             ~nitell ~tates 7atstrict Qt:ourt
                                      CENTRAL DISTRICT OF ILLINOIS




                             Plaintiff

                   vs.                                                      Case No. _ _ _ __
                                                                 (The case number will be assigned by the clerk)




                             Defendant(s)

(List the fall name of ALL plaintiffs and defendants in the caption above. Ifyou need more room, attach a
separate caption page in the above format).

                                                   COMPLAINT•

Indicate below the federal legal basis for your complaint, ifknown. This form is designed primarily for pro se
prisoners challenging the constitutionality of their conditions ofconfinement, claims which are often brought
under-42 U.S,C.,-§ 1983 (against-state1..county, or municipal defendants) or-in a "Bivens'! action (against federaJ. ...,... ,
defendants). However, 42 U.S. C. § 1983 and "Bivens" do not cover all prisoners' claims. Many prisoners'
legal claims arise from other federal laws. Your particular claim may be based on different or additional
sources offederal Jaw. You may adapJ this form to your claim or draft your own complaint.

~42 U.S.C. §1983 (state, county or municipal defendants)

Cl   Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (197I)(federal defendants)

Cl   Other federal law:


Cl   Unknown
                -----------------------------
                                          1. FEDERAL JURISDICTION


      *Please refer to the instructions when filling out tlris complaint. Prisoners are not required to
      use this form or to answer all the questions on this form in order to file a complaint. This is not
      the form to file a habeas corpus petition.
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other federal law. (You may assert a different jurisdictional basis, if appropriate).

                                               U. PARTIES

A. Plaintiff:

          FuUName:       ~        !flV/r~N
                                                5_·4.£.....5_7
          Prison Identification Number: __._Q...,_,          ____D_ _ _ _ _ _ _ _ _ __
          Curren! address:   ~ ~ / r l U.a4ef!.
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For additional plaintiffs, provide the infonnation in the same formal as above on a separate page. If there is
more than one plaintiff. each plaintiffmust sign the Complaint, and each plaintiffis responsible for paying his
or her own complete, separate filing Jee.

8. Defendants

   Defendant # 1:

           Full Name:     ']s. t.,bl Ii-ell
           Current Job Title:     llre~ Of}11 0£-fk:..et(
           Current Work Addressf4~-HM01 ~
                                   'it!f~
                P,CJ, k,d[qq ~ :;;;r {gl7 ~ t/
   Defendant #2:
                                                                          l(:fel le~v!K
           Full Name:       lrl4-eJ K7~/ Jesvl K {_T K;re11esv,K)
           Current Job Title:   )2gJAAa..uJ nve.k (hJ)
           Current Work Address    Q«t,fia,,c_ ~ Q1A1 4&14-d!..
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   Defendant #3:

           Pull Name:

           Current Job Title:


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         Current Work Address     ~~                         bM1 ™fd_.
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  Defendant #4:

          Full Name:

          Current Job Title:    ~ootJ cPff-t~//hJel1lj<nle vnf~
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   Defendant #5:

          Full Name:           ::TI'.Ml 1?. M If01           c· -:r: A+!-; 6-1)
          Current Job Title:    ~O{l,t7               ¢#ic.µ//n/eR.1Y(I f#/¼f'R5 C!ff/c.eK
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For additional defendants, provide the information in the same formal as above on a separate page.


                                           III. LITIGATION HISTORY

          The ,"three strikes ni/e!' bars a prisoner from-bringing.a civil action or appeal in formq pauperis in
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
an action or appeal in a court ~f the United States that was dismissed on the grounds that ii is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger ofserious physicalinjury." 28 U.S.C. § /915(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

in this case?            Yes O                No /

If yes, please describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



B. Have you brought any other lawsuits in federal court while incarcerated?

Yes /              No Cl


C. If your answer to B is yes, how many?      d 3-     Describe the lawsuit(s) below.

                                                         3
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                                                   1:18-cv-01028-JES # 1                 Page 6 of 39




                    Name of Case Court and Docket Number                1:09-GV-51'-/5

                 2. Basic claim made          -{2-cJ '·t//2.e to ~
                 3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

             pending?)
                                              ~kutk~cnA-

             For additional cases, provide the above information in the same format on a separate page.



                                          JV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

                        Prisoners must exhaust available administrative remedies beforefiling an action infederal court about
              prison conditions. 42 U.S.C. § 1997e(a). You are not required to allege or prove exhaustion ofadministrative
              remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
              exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
              You may attach copies of materials relating to exhaustion, such as grievances, appeals, and official responses.
              T11ese materials are not required to file a complaint, but they may assist lhe court in understanding your claim.

              A. ls there a grievance procedure available at your institution? Yes [                     No CJ

              B. Have you filed a grievanc;iconccming the facts relating to this complaint?

                          Yes Cl         No   rJ
           · If ~our answer is no, explain       wh;          not f h<. ~Mt!# ~ f0) s M't,(.. a.-,J a#1as 'ikffs +r:iiA ~ tl#-:11vu r~s1,ih~,l ./.!1111
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                 C. Is the grievance process completed? Yes CJ No r:t,5~,e /e.sp~n~ ,j-d 6'.uej,flt}t'}j ~,~ lh ~vtfk74
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                                                            V. STATEMENT OF CLAIM

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  State here briefly the FACTS that support your case. Describe what each defendant did to violate your federal
  rights. You do not need to give any legal arguments or cite cases or statutes. Number each claim in a separate
  paragraph. Unrelated claims should be raised in a separate civil action.

  THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule of Civil Procedure 8(a)
  requires only a "short and plain statement" ofyour claim showing that you are entitled to relief It is best to
  include only the basic, relevant facts, including dates, places, and names.

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                                                                                               I

            -t61d m.e. ti# he ot./4#d 1,.,J+f-,&~~ c¢-bfb.eg 91atf, ftvt:t n011 &ILJiis no#tJ tt/1
            hiM.,,$g.ffi WM .fo $eryi yYl.2-- f-o i1¥, k 1o//2 et4 Vt1l.l-./m(. fflµfW1411J-g(J.{L ";% W~ uLC-vf-ec)
            QP-a11~e,e11yf11lfttk@y -It; #dll 411411,d UevkMn!: A..kft'r.Jevi lk. Qnd hifi ~ IJWff!tt{l1-
                                                                                       1



            ~:00!m :r.A.(1hleflQ1! ~lq) ~JJ hlm{fv'ttaf\ 11Ytl- hi!. elk:ln-~ b,w('.- fz> Wlttif,ahAf:
                                     -Put   twJ..t




              ~JC> OYl     JtJ~t,-n dvflln                                                                      ~    i,wn,

              nv& :rAt4 ~&111~ c.vi1u\i M'fYI.JL Jo my lpll o0-th11: t?trk[t-;;. 9-n ) dvt1n1 J1u... 1YLOM'!) In
             -/1JlJ)ot/h lqll fiovs,,/;\1<14) ,.,.,I /,o(l/U.d V(J t!f: hj,y CfJ I f,,m.tJi 011 'J. ~1-11
                                                                                                       =:i''j
                                                                                                          if,,. 3/oll
              $h¥t-'fl & /\llrtfhl.e/1 hptlft,(A/cft) 4:i gb L.H,I~ dtMlt1 $Dl{v_) (j,tlU-4' t2(J / ~ QCtA16}tw
              & ~ Jf.11:-Mfbw M(tlLgJmttuJn~:f&wK;TtlusvJ~ ~et.JJ1vrf:3/oto1l:la,
              W a-1lqt,.JeA tL fhmtl4- 1P H,w.v kc?!> £..1#/ru.. 1,-, mi~ kiww tfvr-4: k fp ~~
              1:b#l W 'v.ef,11,, h/m ~ fk#s tl04ti-,ro S ~ tMJ :fu, ~ fWl1-: l::M•h 7kc:2J(1wS1l/
              biJ ~fp(l. ~ fp ftWvl'k Mt.. i-Hh ~ttl-W-R., s1u..$1;k,i.ih£dhft-w.e.d Ml tfU!.
              f°S4-YUA!?    ~M WM,w1-:/114tid, /YLe- udf'h nuJIM] btt? tf0t:Af..L J<;.,vw:£-qg_ dt::fuvl--rtudul
              dv-t- J-o WM-1-;twcu ~a..vJ-kd wl:ff, A.nd tAf4.(~)l, /7ti-~!{IYW;{lr1 WU) due. .fu
  ~~                                                                 7
    I .J--$1w.lld k ~ d:u,flh9 Hlll- ~flOfl& --;M+-=-/W w,-H, ~ St;Re,1~r1, EVM5 pt.en1kc1: ~lvfh1
     fl vs k/), ~ Jean~}' ~ -JoJd nu fh.e,y }C.Alew mY!Wph~)(_ tv'<-S fdrlWl-afftuK 1rt..e. an Jl::2'1117 J.e~
    ~ k,cdv-d my ic.J~s ~ ..z.JMf .jD ~ '1J~ ~ k m(lvd nwAfr,!i:m In/ //Lljh~tt.. 4,u:/dihf
     /WN-etn.e dvH->0 :I ~·1-vtve ~ hJ+tv1~ ~~{lkdJ-/-(v~d!) dvelof?4M/14! lfvH-.7
         JU'~ . {)"r//cu. A-#lr; ~ "Jg-o wh.kh k.-lt1wl ~ ~ d,v~ -ht7A:'lev-"'7!p--; ~ln~·( ~'f,fe/)
  l t:;n/Ufh¾  o;.  kvJf -1o· ~// 1/!.2 ,Hw,.4. Jee.r1~/YleM rJ,.£vSK,~af-HJ ~ ~!U;Jf-/ce ,i0tu~/4;t.
                                           1:18-cv-01028-JES # 1                     Page 32 of 39




          neg/44 hu-dofttA4: ~ tlk.J.. $ht{: 9hz                     :zsu4' bJs ~ &lv'I D.f(clZ(e. wiw i.v~ ti ½w..
          w/rM..ui a1-- pt,(>Htrc Cx p.a. c.J t4o 4                   WM       &w1 lJ+t, tArvJ d~e,.fp +M1-;r ~~ ~Cll.<ved
          Of1   ~         f1M.A1bt c,tzu, t&t+        *= ~µ fr.,t+ Z ~&JY{b,1/jhf:) h<t+HH~ e,$ti!? Md)'k4:J
         ./1u~fh/Y., M               nk)'1lef,ol)S #l!li,,t.          dlt:la(oc~,ms_),{tf.Jt>M- 31-17 clot,!!J f/.,_
          h1/JMIN,lh }fl (lb(#, ee.11 hovk. ,n/t-;J~ (}(2,t.,r}tiC.e t{J()ki.d LIP M- IY1Y c-ei I '1rl-c:i rAtiLe <lo /r1/I
                 J                                           •
          f.t)I OY1 dAfu fr;Wl4ruJ d~               mmouury     /n H~ ~fh C-el/ MU~ Shi-~f.1(1&/fp rr1.l. (XJ #a,'.r
          da1< Md {lQ Cflfyz. D{(,ts~OY'l5 & 74 )(,N4'J h.u. o#lc.« (}{J}1,'et. a/Joi.Jqi w# W-                      V

          ~tk.ed w/,J,1, .Pf!~es lvtlni- ~ ltAt-tw ,J1-1+ ,/j.dg ~td ft-v-o 11thµ_ ~ t s f1!.t.i0f WM
          ~ f'fM,i:i/tPlu~. lPIIW. ~Jl-1-ruxt fbr-fr»rrr½ b1w $4-d8k4 lvtt..ftv{fh fbe-/oo4Y.Plvlds
          lftN¼e,l, 0tld frk fold tber-, tftt1: ~ W:lf~ jenn± A,.tl.JL +/,.q.,, vp f..tcomf(I.Wl]j i!//5t,'pJ/tu,
           M'ffli¾ hta. $1rHA rJb1t f~~bn; fiµ,, J-o tifh?fl /4vrl/CY1$ lilW/t'f ffllrn fV)~fc-:i 91},u. t4r
           f@wJ ./p h.ut.. .Jir.1.-fnnr,.Jg. t,yr.ml- ~ b_y ,i>'kf P.R-owuf fhL-m S4 ~ betAv~ fh4
             ti Mlt. o,, .f.Av'ot. ~,u/ S-k Lv~ n I- llJJ ow/11 M.L -Iv b.e. ~e<,1 }'Y1..u/Jott Sk -fo S~ e. t./J. f he
           bDd-i-fl-luhi{(.f-ele5t-l/1Un;§Jfl....ri:;z:w'l~ J, J-LvtJ-1., a ~ h1Vhuf.µ, tUI b~~ ;r£,'J~1
           /uw~v;I? 1t~,tkk h~(ninllceJ tiPf/utUAt'!J &C1UOn,rJvr?ljfb?3,fo11~on.JiM.~(</-JH7)
        ... in. :11¥ O(ftfhl-(ill ~(A!cUJ $1:wAf htffl-4½:mlt M)l:-k r;wµe.wCfl.e-8~~
                                                                      tm~
                                                                                      ~l .hl<Jrulhtfu..~
           Jo nw uvi ~ vjv tunl'u. ® &d+fe(g-'31-11) and~ MX¥0t,?rtfn ¢0 '-l-Jg.-n JVili
                                (IYleHn)
          -l:fu4: &tr¾~ 9Dt Qpgtew.) ~ f,()Nl.l,H~ (Al.rr,y fl-UK..~u.. CtM ,b1l4 MA... l>m,1--.$vlZ~t,J9'KJ'
          Md bt1..ea. nV>Ues.&MUllorl 8:kf&· t>1t?I /.eJf hQ1q & ·l:¼1.Jo olve h1.e m:4Alc-tt ~ 1 - ~M
         (mt~l\tl)                                                                    v
          nL, $4f4q} & k/41 Wly' vppll hody ks, Y)ut "1-1U+W4.i LbOkih 1-1- d/dnl- ID()}( !,}Jct, ±t01:nuM-
                               {11lf9'\n>                                                                                /,rLJltfl)
          WM J¼Wa,d If¥ t//k! l!,/o Ullle,.. 1M 9-'.l 1-n .Jp~ "'3? :!o+k lll-§Y*; M,do tMI- S"'-
           <!Olild lvwe fMWdeAmtkdth t\wlCA1~                                   'Mfpm/frd: hU()() <V~ dt:tf.;,
          .tA£~\ea. dvtl_} & ~;fhffl. tn :/he,nudl, ee41 ~ /J-.wlem,?4-tr,M,<,lens.,, ~ In
          J4 .,,,;,:)nlJfl (£ m/c-ell#ld bU-~-l¼erble{8-'31-li__,)a,-v/rM¥.f-(p,cw.#d#rt
           t-/o J.e~ <¥M hJw Md f"::<,pc<Zt Q£-ll & f-eair&J --1:½t Ju, kNew Offlut. l!-DJ'J {e~ tUl~t,d
                                             (A.


           , l'»W'tits ft> 41-bW<- M<. t..d'ffJ k f t.vdnll fbr1: ht.. .J-tJJd a11 5fd.M (l(;.1- c:tb r-e.pqe1: Off/cu &im a
           l!(;rv,lvd-;J"ywlp~ d¼/f t/n,, -Pet,,.,                         ½;
                                                                      ~~ ~n,k e__;oc,Q///(£ b.,.. ~:11,,n-


 ~J    <"A-_ , J I                     . J         ;I-,.   /-f,   ~f/ot1s             J;Jrrd 1,v/./1, OfifJ'c.e;Z k,lJhee/# .
/-1-- 21n<Ji/Jo oe-J7A:/ed o,v~J-                             ~            i        b<:--c,fM:~ UHJ-1-cc~e~ on <Y/;;).7/17
M ~k                                        4
                          /C/1/~ ~ ~C,vh--J %~J:.tioll 4"/VAfl;fdL> /ellA-, J?Ae 4kv,t.-/17f'. ;/h,.Q,ffl'
~tJWU    AL 4->feec~ /i. /t½~-Je,#-           . 6 mY ;u.lc/JJ/J,t ~t#J/-hUVe JYkawlf1 ~m P'fY
tlfl:~, ..s:-&v~ 'wlfil1.,-l-c<-~J e,.,,as ~'{fwl on h?in L.-/.$&,1"I an~/ p ~ce y~,:,s q_,?c>
'11U,?'h6"1({ Ztve. •.Iii A /at..4-t,,,r 4/1.d .Ji          r.-,.p.u.s I                     '
~-rs-hou!t/ be-Mkd ~ ~dM~            11-1.-17 :Z h1d#~ 1A,~..Ac,f-/0()
                             1:18-cv-01028-JES                 Page 33 of      39 b-P-#ceR. />'lR,JCoch-e-t WhAekh,
                                                                            wl-+1-,                                1
1n +k ~r:ptq_~     k,/d1r1 due~ rf11L frl{!tflfnt Cvld tlffth OYI I 2 -t'i-17 civf../nf ~kuJ In & ~e-e1JI
t)W~~~~ i\Wtw.Wl-/o                 h-e-~iinbd}-W~f/uH-fu..w~eUU<tktJ-P.o#ffdt.o1t~~/n
~.J--"'6~Uf1J.tl.d   ~          ~f"!<mt:Jth ~al~~~ d,t,ncwc./--o-t.d.Lmdf11J m.emedh+f~11L-
M-4e~~               t ~~f/l1f!:.~/1e.,~+Jv./tt. ~ ~ , ~ W M ihkt.upflr,,, tf1ilf-o,{l-rn!f .s-f'ck.vt-11
51"""'        <H.Lrn J-wt4.--
gvffe, ~ rue- ~ ~-pa~
                                        ··~U'J v    ~n,~'*
                                                     ::T~ ~v~~-N,oi,, ~ ~ ~nl.~1'14./ot.ltllt.k)
                                   ~ fAf.frl4M+fj ~ ~ kkA'cw :I IUJNL/ h'ldfc,il <¼u.A-4/ait flttt4 Uv!J Mie'qu/ ~ 1~/x.4.-dkJM.
          }W tM'I W rn/teks~ M!f C-ell iJc,wt. W4S~ Qf:P-arul MAzde.svu +M4-I.
         @n1--~ 56+&,tt:XwtJulJnl--b qhu-k cilAn-~~ on myhodtM4:7
          WuhN-lJ.H,k(ql.vtlne M-Gtod d!t,.ededaM his J.fu, :ilJ:&:*1-fs to ru4-tMfD1u frl..e
         kgg&mutr<M ~ l.,v/'.H,Jis_ Af11>Mrtee M dJaA,vqH'!jA1Ptt.1.?A\1dson. JJevkMnf
         foR1,<1,1()ff(Uli..AtHj,Ql;}Q(\,Q/ette 1 xJ+tr1t,1-t;, H&leJCJ(_qnel O:rf....eqslnu. 7:W sut!.d

          09£kcts ~01S<ml SGlfmeth and lwh7ofl,Pteoflu aod./znl 0ul1!je11'{ tf1w+en'!J #

         \.d11 ~ Pw1-w:1:cl      o.A--54akv'io<.(i,) 4~ tk -,-k,~ iibN11 tn 11¥,oogtbte-•1 hov~ on q.4-n
                                                              0
         ills p,tnk h\A,L.(. UWt!Mf}H'Vl 6 S1:0H~M Mn:'I!: .Jo myec,u (N ~ W) SJ,,,kd ft.# h..t. W r-eiA ew~ fezt '()Uk!,
                                          1




                                      i
         ~ fl wt~ W)s. Me'lM) C. tYl, ~- '.Bvc:z.Kgw91d ,to £rod M&: :ft.)        •& ~ I.J1.. CA-1k Lklir }u IOJ~
         w\-.M. ~ ..Jo j,(\.L bv-1- Wft.&Yltj<mM: ,:S'M-kh bf\ hfs @h+P:& Coiji ~~ t. I.et l-eit l.vkc W4,$ ~
         .f:o Mp! ~ ; I & o#rod.@ u1ts Wh-0 .-jf,y lfNew w~ IM-tk ftitllAk ;rP: ·/lb,µ,..Jl:)J2a..
         &v,?)0,,, o:o * b.efQ&. l.RA1fy wu, wf c>F rYl'.tten ·IP pwt:e-Of roe £Pr,y,            4:J bl+:vh-h k6tb
        (-fcc~s 'urz.tnv   lu R¾'W Ju WM 9rmn+ 1-vtve M<. fyJ1- .Jo J1,.g. h!attb 4:b2? llhl.1- :Po€, f,t1Ai'1Yl.UJ1--
         he K,,va.J :&1:::z n-UfdilJv (l(Jl-l,J_j ~./Jpe h1h dvJu) ±he 3fol1 fW-t {b i'N}Jflf.tb d(_jl~
         Ofl:l:tvrrol.A:1*{ 'i-'-1-•~ ttM ott-11:M:tNP:f- Md fhH,M Ult bmt½ on q-{p-l1 Mt-i M<d4<*b!?,~
         e-Jok,Wh-ULli! Cdr¥:io ro1tt11 nM ~ - i Y-1>" ~ 7 44 t..1h-%1-+be.ho'K ;z. Whf'l/:t'A do MJ
        .J.hai,. .J--11,.,. m,Jfc-t1 :S1!!#;: 'iJll!2jq,>!lKI ar,i ,;#,a., i,J4< Je/1,h v t ./v ~ 1tw:J<>,fl.,. Ju.ti-ff,
                                                                                                   >),,Jh})
         eAU vnlJ.::fpg    M1'Alct1 ~'*(;/-W Su "'1e eJn4. dv f.J.-. ~ 4f'e tfoy C~"Jhl: a ~tlovs tb,~.2,&.

        ~       "tJ ht'--f'n &        ~ wirn g-hl;1-(k£e-{) &pls.$(vPlne_J 7 ~nJ..M~ VW9eJ-h1)rt1.ul/a-,
        +rz.vt+mro;- §/'nu.. {XtN Mk4gttk-1A1Juj. w             ~ tMv>vl~ ~       ntl..   du,e ~Ovt.. Wn,,.J~r'f ~ IYlL
         &n :J. 1~rfa,u ~-½ j?'t tvt.ulloo CA111.. t,,A,.u, -::1:J.fd=twtk.g,-Pgprrfb,c. ,M4cr'llU/f (jetJaM<; iJ#lce.

        ti~ d,n Sf$&J1bd. fMg..Dn IYl H-ie.m/J7Wtj (h &04MbteilhwSeiNc#) meR.eddorlrlt.bvna)/Jtf.
        ( t.t'JlJwseMllf<,tWrl~
                    ,           m.s.A-IVA-%{o Vtyry..-HJ m:Y <!-Ml (tr!i ;w} a0ttl /Dtf'¼I up q,+WJ'I e.e11
                                                       q
                                                                 8
\+ $1WV\J k ~ +M+ w/lidt-fl /Z.vslOh fd"ld nu d,ve/hq
                         1:18-cv-01028-JES                   34 of 39 fn & fbts-/-UJ1 J,ou~ .d,vc,/nt;
                                                      fklfl(lll.Jliw,
                                               # 1 Page
tt ~ e l l ~ ~ +lvtt-~af¾Je£_ htz-1!. ~~ anowld lne,ef-o-~~l.kd w141, -&I
WV--hvi'd.s ~w "1'111d ~ ~tk[· tcndCfHui. ~ ~tllct:d. .J'rJ8t:kikA~ ./1/ic_k,w~lrb ayt(t,;+s-
91alft fu.. hl'rt!(tei11«) .ft> ln+./49vtuz_-/1rll- ;ul!d~r/e./Yllzd/C,,ff ~~ h~t/l--.:z dtc{ he..wOl,/d ¼vr:-
W a fssv~6TJ hr:5 ~ ¢-.Ls-fA M ~r'~llt!d 4'1. C4--rf'lf/e-mf!!1:/f>ktirid k d . v ~ ~ ~
    fl.rf}vf ~~ ~~ /...e,e_ 4#l~Mc:--/tJ ~ U - , ~hv}--4..f.-All Hrtlu., d i s ~ J-he,,n
.}-() )u;e_

               dve.,:Hw il'.141?oj h±fu rueJhc~llhpuc;e Dn CJ~~1~11 6k54ukJ OYJ ht&br&q, +&tr:~
               th qk KJ\J(,,W In -Yk.e- OMf:b .!.~I\ hovs.e, (tJc+tj ±old b&a. aht,v} a£-Pk-e,{ 6'11ld ~vc.1-
               ~ ln fMMjfk\Ph #1 611-1: ~                  Lv /c.51"1,J-   gooM- f;q>Pi.J- f4- on naP- IYP-Pft.& kc:.u-rt.J nlJfZ
               ('jlfqfLI--   ~ h..ef?   lo~½J C-q<4-k :Hvtf: 7 ~ ,~,,Al0:'.1-ffU+bntn4-                      i:l~   h-i ao;"l f5-5i.Ja,
               i-k   i~            W:ffl M J,J 4H-t,,nJ slu w0 rmrn:g?J: Wu. ~f-ro +kt. hvn+:h UriluMrJ.
                                                                                  9
               Jp g1J:h'tb-tir.tr1      ±tuktwwri-, no-l:hlj   -ruJ                                        0
                                                                            ..p,,g nu Ofl £ft-hell- ~('I ,>n q-10-11 [fl&
               OMJ:h le11 hru,~ e,ro11--~'.8v[,-z.uw-,k! (!Afrtg ~ IYV/ 1e11 7               fd}d hu. f/vr:t: ;z: $4-H1dtJt1.J-ju

               MeJ/-011 ~ M                &k 91-qk) iD~ a+'){M'---.f-,,Ce. :rt.l)V1) ~ I :I wli 1 M::k .fp ~
               :r,A-.(/hwuvr, ~~ t...fnJt1 lfu½ll,~u unft) abovl-LtlM!t:$                       9ru, on h.u-wS£_&x           ~:fc\#.s

              Wu~

               tM!ln) &          ~ ,·n Jie nAAfh ul I hovk wblk ~ In                        et R(Jam   wl·rbflPBc-as #eailcK
               &.fk.ue- 1,._/k !o'l¥ CM<J~ o. vnC,e,l4k,;J /ol('W{ptkn 0ba1&a 11nr~1A-;kd ;'nc.JqurtHQFPicm
              .Uedekx&piefL'e lmmu#loklt J:k\W fi:Pk,i &\:(ib09AfC th1:,fbzy'Wfold o#fc4.&JJIJ~~ wkf-tiill;e.£
              ~ tM:t±4¥ $4-4kJ a.<                 mw la fuMjtufb 4 ~ lllt1t/e atJtJ Jk-kd M+bq fp)d It{t4tMt?J-
              mt.SDBeo>-ta HYI1-: ht.~ iP ti1.t whrf:& S½kd as if4J.<d 1n Pti\MjMfhff4, t>#ltee me. eue                           ff
              s4M-<4 ·li1+ h,g:k[IJ RNf/?l(Jlm¼Lnutsj TAU Dt;ll!j w1KJn whtr:B'htiold ~Ct-m~
              ~of:£:lwt fi0<e bid luP.(ev1't.Jv,J t;S: 9Mk4                       tn fh!P!tj&f"#s.,>Ni1m l-kAR/cl(&fleu<
              S ~ th14: fi.w KA¼J -1:W tt#k-ta t-b11lt.e a-tt~tJu/ &orru In~ dP Hv~.{)I\) ~ body

              .Pl\nJS on Mg on & uktk c&Ce-.'.11--nl.
                                                   l'
                                                      KM¾>+:b1± (.;Jo
                                                                  r
                                                                      fdld. ao) ,1Mfb.µz l[fflM[l. Wlt§ I(Otsl5D1l-

              D#ilei~ /kdeJ c.K lLPJell.u 9b&k4 fu:4- tki(>k/4UcK. &p,eceeJ 4l<ry!JH:i l,r,t/ll®tft,gu.&; k'ellj l),wi~m

         (vM a\Mf/41!~) t-f#t<Jts A;H-l_;; 111.wn eso1tme1-1:z. ~11 w ei M-t ·& r-e.&JI.J mwH'!J qb@vr& Hvtt
              1:'N-¥ wk6 tu or. 1-$ Whl> qMµ¼i &               Mg#,4&11          ham {,All#) bl&i std.t MA/I ea ad ·tbet ~u.111~
              an t11·I Mmpltl       '* akvvt euJ11<l Cortcloct a<iJ ~f~ J-h.t+;r dlUckd 1o &                        lwrlH, ('MU k»ll--
                                                                            /0
                                                                            •
"1}5'1wv1d be-Mfd +iw1--tv.lrf.d.tn1:18-cv-01028-JES
                                     E,/!u~ 161.d f 1 ' k     flu_ /;)-itj-
                                                        # -1~ Page  35 of 39J7 w ~ ~ In f1ie .&tri
 ce11 hov~ ~9N.-a4-an ~ c»s~.dul m,; ~4-~lw-iu ~*~ Mfh ~ l l f ~kn
VrU ~ ~ w ~ /nL .J-r;, J.trve- ~ ~ /tvff-~ h1e d.A)J/ and cildnt-f¼vlde. ~
au.,~ ~ tr.     11~   ~u,·
                    &1-k,s/h{b ::z:-W~~J.fkl] ~p'ltln1r Jo & /ht- '8. 4 ~ ~k ~
,y.,µµ ~ c;lJ'e,~e~ ~-1-/1.d a,'1inir ~ M . fun~ T,~nnu,C-/vtl,w.~10ll}arltltJJl.a.Sfqfl:r ~
                                                                                            vtf
  jWUf-
          {1tl·V~gae41'1 $1!ps ·/1vt+-9M-kJJ.h1t01'- ~,~1-J1 :twa-s hJ.J../'n -~ k~w/fl, /<c~!.&. tlf./ru
           a.neJ Lvii-5 fn r,.nJ a   ):Mi1vtt ~ J . . i¼(fkJ,t;ct.{Plet£eJ ffA1ed +lvt4-.fb,q ~ a l ( ~

           mv:eam,ot:tlrtl5a4w1: MHJ,i qr-u,./ fl1fS/t~C1'.lt S'IJ(¾    --;[vs-f.. fo f}/UVet1J: IYl&-ff-on2J:en, /!¼11"'1 ~

           ~ S&lvitt Mt hvrlJ:b h.iuG.S    Jw :z: myi}f h+J '1$~ f.esv14-lJ:P.ffP#i'j h:~ lh my-1-;u. i.,..,1-H,fk_
           W;lflvlds. DPf:k«fAl~~~ ak;,kt) Ju            w~s Dffl:dhl-i'rJJmy& Sf1+fstl#W'1~ In.Voll/~ ik;t, WM
           he allo~ Wti_W8&1A-lndlCA1 #.t:tt,,ynJ-,5/n<'e, 7111:¢ ./211~ 4 IAwsvll- ~ brs-b+h!~ (nuy P.
           pJ. eRte. wkJ W4s. a Mmd.. ff!rv'1at.. w~r1. Qff:k« lk-dekll W $9-J..e.i hts f-btS{,(l,; t>/1--mJJ-CJrllowln_J

           hufojRJ/:tr1e410Yl:/1µfnzur).-l}Dg d1f.(.:pt17 &9!c:MJ-1n4-d1vw nr/{f;k,t.J< WM due-./ogt}e.V;fflU&

           :!-I/led aJJ+r½-k his eo-wo~ Qffiut..M+lg, b'.t4:-7iJ({ p,f..lM1c? ~ Jlvt to LuwwJk ~-Plied
           P4etl)-rk --/1#, CA4-ij &.petnH0a£ well. tvhUf he!j tn /:bi, hciJ"?J 4/lJA-Jn .r{y_.fW!,Jf, ,~11 hov~
           wa!±!j yo ketttollk./o& PAi-1-~ bv/1-vllM k;CJ#1ce1. irlf!..f{e.tlu f>h>JRdtVl M~~«J-
                                                                 J                        ( h1lttd<'£~)
           tnfl/2.DJ:elA(ig OpSe{U&l   t,t.g Mk;/   ~-kd-Pve,Jf...M(Jvtl..½f<,~ ti-u,l( RI:! b:14kBu I.If (f-{ftM!d

           M+ :z- 8"'~f::f1v14::0:me-~ hrhro ~c-ll ~ottt1eg etlkJwl"1 $(u 103-D4--hN- In 'fo~./ar.e. Mfh
          feces &.11,.;& :r{0Jd4J.t) Juu;w a,1,1 ahtJvJ-~ ~Dy tt;11Lcl f,1pp (&M.pWhly Jo m~ nu&J anA

          jltJ #tm J<.,'k!. fo!lve Jo ll'k ~ ¾id-tkm wtH,&htieot 1!»' -;µclLf,,~'f'h#no S44/P~
                                                                                          1



           W"-1   -k pu~'tlk 'feY wr+i, biuJ-1 vrt ~ 71/Mltf !fav W<=              M/'Af!:J:lJ e ~ ! ) ~Jn
           ~      bte wt-Ht 91.N{~t.e~&.pl.~(v,tiN.J i:Vh.uo. iWkd by h¼                      81-t'J:/t-de_&fflt/m

           no *-* 1),, M       hek,fh e.tf.<. tmf-1--fo pt.ovrk yw 1..v 1µ, meJ}(A1'f(lt:4:,}puM, IALhHuUt+lj o0
          i:'.b!. "1-m4 01:£icl.e fu tn!WW ~ &ln4t.lt~u vnf-l-.t>fl£JWlS' ~J' MX>n g~f!twl-kt:M1d cl,ltP
                                                                                                 1


          \ovew~ uny 1?,&'dwn OkwYed ML. {Ml, cr-il#tm ~ !df\J wl¼ i>Mka~ pld.l!.t.& UeJR!ir: o"
          AA d.k-k ~~ ~j/ ~.J:Mt 'M J-aid k~~v.knM1f $Ol2eru'~n i-JM4 h,.,_Jold MLJ-M1.
          J-bq M;c,I $½k,d ~ ~ 111 fJuMgP.Aph#'f.. t'}Jr.C inVe.8:H"'*1". ~11y'Plnd,Asoo,DP£k<Rl A+fij1Olson
          anJ ScJfme, l-2.. lo-Mh.ril.td hy ~ M J;h.VI .Joui Of:f!~eR Ul111e~          wh+i- ht vtfld Ju..Jhy Mfrkd as
                                                                 II
                                                                 -=--                                      %ds      £
                                    1:18-cv-01028-JES # 1                  Page 36 of 39




  Ii tAJi:t ttw½-,U fMf &£fl@ l61 aU      W 4Jww~ • ihM+k~ ¥ hh-trt.e. th rr,11 .f¼+e. iJtb
 ~ t :l:l vfd.s +IW{ ~ :th# lu\ltw :;cdldn1-g.e+ Mt!±h 0M vnlt(l-hl~v~ /Ylajl(lrl ti?01;l@f
 4--h.c.n!Jb+?WI M:w¥-OCW1ty kivewth,n. -::t.~ m,eJlC114:t:4-hiJM JoOkJJ PJ4-&
 lµQ44fo~ CSi1- to1 Ouk &.fttt.~ due. .fo Mi -fb& Stck tH I gt/'Jix ffl : Z ~ •f}f.edl fo S~
  11) fM_ luA-Jti,   (!/r(l.L   1M1.J-4fkm.¢AJ jp ~ tb,rtHupfJf~tza (Giek:(;,t11 Slips/
 Jo ~o+:n:u-:H--sm fJ&ffl3 hJtA/rM ~ ffwt~tb#&r< 4w,dvpl--lp~~ J!'.'{
 WM dye fo ½1,JSvl,K 7f!J~ ft!J,tl'n,k+f«,, dNije.Je.~&1-;;lW!ok ~ & f'nkpu1
 ~:f£.Nu   «l'v½ I{fnk11lgeou.
                         v     £/YIJ-J--\y.g,es-
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                     a+4e        l/-Jl-/-l7           IVl.h<!1>'1r,,,,.1          J        n~o,n.M~   £~ Jll   i? f'c.



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 !J#ktts A±Hj IDI s-o-n 1k- I-hot tttdYeR.ee MJ 0'fl# s+aN< W f'4ttY. Jo & (Anchl;Jon :tt,A4- f                Mtt'j
 m.o,j# ~ kt! 51Mb &V1t?Ytk? wir1tJ M-v"e :ktubti {ni!, ruJhlp .eiss o#-f>!-1:soa ;#+ffs k1
 ~ 9~ewmt,q on 9#!dfs,,#l.' j LwMfS Mpflw rfflffl,fbR++knrJ tJiM lnt.mry Sf:Gtfs
 an;/ Af1Mj me iP pe. b'Y~ kt G4Af:&w hwrwi kJ lhm1:Ja wowl h4ve wteJ Mg J-C>
   $4op~ {,\,fl1 af-fbef,Sb:e(p~rr\AJ.tivu. /i,tt;;;:dlcit•I- .J*h'leAlc1i:-tt4tft•YtH-af:kS J:w4:J
   blrtn royh,, wtfh boil'( .P.lvld!. cro ,g,.:1,-11 :fopvtllfk m~ Mi $o 'A#ldrn-hw?f(QQ£:Clf:lury
. _t,VM,w'lu.J lz/ 4 ~dve. go .s/Af£S Ct/ndvcf kee,Me/J!.~.Jt,zd.tJl10~. M.t..@gei1,.qlulqt
 ~('{L@h1f/~NWJk fp MJCM ½fl¼ dWrl-94-ttJ.b mtcweJ 4 /Q..;pib@1,1kca.&
 l&ur on &       ""¾ @tVtrl#>'k-4 and f'-r~ ~w/t', I'('-!/ (b;.rvei'* tMUI                 tludkiot oU5llflloe Jk
 ~ ftWl~            vJh.ui~ w~ .eMclyy.e t>P:"- [14#.ftA :f1vtt.-WbtAd "'4-w.-k-11 h-1i£K&nhep. and
 g i.L eiMJ h,weg*k£2 to!fovitle. £oe twf 1l\~l-i~&, dl,dtli'r!:y tk ~ tdrw qltpwtW iaftl1k.J
 +t, M-i-4'4C tnG- w1:11, Wtf1&11Js at1d ah?wov1t1,,;                 i.un
                                                              ab~*' ti.u~@unJ 7+begyg N:was hd.
                                                                       v
 twt:/e:tP lnvefrll'Jd;k 01oe.mtrb'()(J r-e,ftttW h-1 ffitffs&/'nr,Vt-Jqi c~c.:m,nu.,vi, ls,ive tdisdplfn-t
  #    ke1:h 1,iv4, .fiM& ts e Vlch(!C< *1,# s-f:Aff!&..lnfY11;1e...,; kod,,ua.DavR.yi M f-fp#Wo/1411-wc,vJ dn1-
  b'.\4di OCJ'¼¼:M h.u...fo Md llf¼w<d t-jt>(ol1ty wf/u.tctb« ?1-affs iPJIIM t/'ILlt!.&m.iiX,l-
  tbcrt:s 544,1-,t:d 1n &       /¾IUJM:fN -I-fun Mlol,Jd M&tv8e+h1.ulier, ~ t (ifle,wed 1m
                                ~h-(N~

  ±c:j~ b'.½:LI 01 +twri:trUot: ½f:dlclot Ai .k .'pl ,he Of:Ptc..~ 6:!Jt1 et- q,oJ th+ o1:hul. ~ 1'M-(D,f(fJ.s<M}
  ~ ..Ji.r+ 8N, WM 4. Vat &ft(. lt-ucl'C¥I: £ He-K oW.!nvf£f{~ b!Y? ~ b?€ efleL<J(lmuntto.At.'rS&,l~
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                                         1:18-cv-01028-JES
r,}- 9t1rutd l,e_, (}(J1<.J f-M4,D() 12-11-17 Gt~~n        #1
                                                            ~ Page
                                                                Jh-1-ke38(!AS:f-c.ei1h~
                                                                           of 39        dudr,&mc«titn1~ )
  Koe,he1 'l,(U/ l,v~r} ~ ~ ~ f/,Af-                 }'WJ&MJ. M1 er-P-~ ft10.llr/la8 ewe +ticunla:. /Jod4vtl}- .
\ ~ ~ ~ ~ ~ t , ~ ~ ~ ~ ~ ~ ~ ¥ 1 ! : f i t t : f f~U~/4~~~~
  l, a11:@te. 54n'\fln2M<: du@,,~-~oP-n,1 a4:¼¢t{WfJM11/½Pht:1ja<tJ #M rfo/lt~Ck.
      h.L~~h..e.Wdt'>rwm M1 lwn4:b l'¼>es ~ ±1,wv!41A-ctt11 'CCfJ s;ck1A11 si,ps
         ~ 7--MeJ Unb/p h)rn oli~n1.-ff1'vh4 b'.\l: \M't'h n'lR)ltKt ~ { p .sea,u m~ hktifb ~S)~
         ~ve_.,1"t> wYJr® /¼Yl"g)Wn-k <:A\'ld gdeVAt1 ~ i:W:-:I W S'.'a'lbt:o fu ,Mrotn\ sftlHA\Je. (-e;'ft-tw bee.µ,(
         ~kwl-h              ~"11\~ l'r,,) C4     I fJru .fotr_6\-h.u. Y,~\IM-of:/ ~~. , \/f.}o   Jokt1& l ~l11'1

         ;rW Mi OW-&?ftud/J-1~ e.-J-J1Ar1slj') &1>& Mi-r.HJrP~ ~&k- r~~~ 10:fpfJyi,tf/' eM/,,~a.hd-
          ~ -~(~.c(/1~114".n#-1) ~ J1vtt- :r W _,vzh?./'nt4 py~:N1w l,;lJ'%&,hl,&,-A+M}loWLJ 11""-
         'n             we,tJ -s R.                              1\-i M't-1-t.ce. l  hl.lf2n~.~ s o.rul 1-Jclw~
         ~-&~:f:hA±::t*rle.4th1Y1y$,!cK&t11.s;t{'esH#::tkdd~.f't?h.2.itM&~
         tt-ru\ 4M-ttth1         L tJI& uzc,.,."_) kit, a11 /'>11)2.~~ i-Jl.ioww           fh      m eel1 k         44i~
         fu®11 (f.:1Yt<1 !Jhy 21~ 4+tt11 ~                    w
                                                          fl.dvy) fopw!dL h'l;_r,JJ,h my/t,,rt f{lt,,+1punt ~ ~
        <hl M~{bl.Mk 1>f:j;Jeytm hR,/l wwl lott <;t:.-t#$ aN{ Ou-w~ tl1UI 1.f.- ,7;wDVldtH ~~1~f1M'I-
        ~ W@Jd Mve.. pru-Jw-iu \.J.}t... h'\.ltl.Jex1±t.ud:rom1-:fo ,)ec~ my MMtb ~r.we& ~.kfb,,,w41, t>b/,~
       ~do~ 5'k W./vttdf.¥.~-Hvtt-a!. gkMJdJ~~ !Jh~!'.M11~:¥i1of0:Je!Ak and 1)/l-~
       t11d.tn <e,(£ a.5 il)(}      . oll-h1JU1-kJ In iwl    . h1£6ftv11 f1e£J>~ ·H-vt1--·}h.tY .t1Juv.'d.ul nu w'-*1 M.tJ,vr1
       ~ } ktt..LJYlr-e                 ttnei ,'AnJ-dow111.tl'}~fY]'yCtA1?_f)L+fh-is 4 ,ovJ-heA1-H, l½Vc.j r-
                                          fJStJ-eJ                                                                Jr,) m,/
       g-:n-11 f.Ur~~ft+MJ!',#fb tt.1J f~ w A+fogJt:ev£ Otl:Su~--tf-w+brxav1d uc.e.-ibt¥: rrtullc.t1 f-.eaJ~!
        ~ W Wou            ~ vievi~ fn ~ oV}-(Jt.a;ur.A-r- dvf.kM                        ~ 11         -I. Mot WJf'h wA9.t1.n
       M ~Mh /u.~~ ·-f1vt4 4 $p44 wi'#, ~ c.cg tt:,J Jle1t /n C(./e-A1JJLJ~J6F1 kNt.w+Mf ke(Cl>l1ld) 11111,Ld
       l"M.1D ~h},H,~Jfh-~(s~pat?1_1Ptfh~)..}6Jd l,lm :to Md n'tAtks~.:fh#- ;;Id/dnfJ'H=Y>D ~lvt1-H~r
      So:i:wov.dnthAc:\ o 'du-ice            1-Jm W1ietZ JP- Ws\.JaJ ~ t ,tvd h~ w~mdlllh~--HvlfJ..c.
       W<tt>taa-t1Mh}s                   cetlhw~~                       . ~ - ~m.e.           V        -rbttle.·rz>µ.f-Wl-1    fh/,;J~Jk.L
        y!/Jl!,W tubM         'l'l -<!-~~           4 Id~           Mtf        hm1 an.d -H4r>         r(J()(l 52.nu..k, K/1lJW  J..N- ih t'ht-,
        f¼l-e ~kU-3 O(;vld h,we,(1/rvSGJ ti /lkk..fo n1yhe-ri-1+> ,Sa;iJ>t.uJ ..-JtJld ~1 hlr S,l,~,d-atUJf/i.+.:I              ';kdrtLe
       w/J1,, ~ 111¥h.brlfn /:.ft-;Wes ~Vu.d h i ~ hL W ~ ~fn,,7d ./t;lt /YI<. /1.,#-rt'J(?_ / t i ~ and' hit
       t,,/,,r1d.!u--ft!UJA-P.A m.ewfi-J dve fr> hU. w1~11#11(.vrkr, fD ~'11 A .Jf.A*Jffll.t... t l ~/ At1ei~1uJll.a.tu-/-tt/tf4Ct.y


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      r,           ~ , t)n /1-l5-l7d~t_~,.?''~~11,11 ln-lk.n~cetthwkdr$15-bt/1!-W~ T.k.alf;d/ilJvtW :H)l. 'j-rl_ld/.
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      ~                 -r     Je}KJ ,/M1-::,:J.,,,d.fUJ,f,k; Aut. on-&~ 1111~~ m t ~ rh;H/n kit. 11kvl--1Y1;t hut#. /uva 1sk
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      4f"l.d-klul 4,ff   a-(l
                                                 (State what relief you want from the court.)




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                                                          1:18-cv-01028-JES # 1                                  Page 39 of 39




JURY DEMAND                                            Yee       [El                  No             D

          Signed           this_/_<J_fh__ day of :T~ j

                                                                                                                              ( Signature of Plaintiff)




  Name of Plaintiff:                       ;;Ji3jf>l)A-#of/(/()1                                            Inmate Identification Number.           /t5'/../£"7t}
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  Address~                                    (!Hl!Uf/~ Ctl)/-(ll.                                          Telephone Number.           //J'JI./-
   jftl),-ptJf tt? ~~t(;/1{;(/




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